         Case 3:20-cv-01534-CSH Document 5-3 Filed 10/27/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA,

                       Plaintiff,
          v.                                           Civil Action No. 3:20-cv-01534-CSH
YALE UNIVERSITY,

                       Defendant.


                           DECLARATION OF EDWARD J. BLUM

       I, Edward J. Blum, pursuant to 28 U.S.C. §1746, declare the following:

       1.      I am an individual over twenty-one years of age, and of sound mind, who has

never been convicted of a felony, is capable of making this declaration, and am fully competent

to declare as to matters stated herein

       2.      I am the President of Students for Fair Admissions, Inc. (“SFFA”), which is an

Internal Revenue Code Section 501(c)(3) organization formed for the purpose of defending

human and civil rights secured by law, including the right of individuals to equal protection

under the law, through litigation and any other lawful means. More specifically, SFFA seeks to

promote and protect the right of the public to be free from discrimination on the basis of race in

higher education admissions.

       3.      SFFA’s membership includes more than 20,000 students, parents, and others who

believe that racial classifications and preferences in college admissions are unfair, unnecessary,

and unconstitutional. SFFA has members throughout the country.

       4.      SFFA has at least one member (“Applicant”) who applied for and was denied

admission to Yale’s 2020 entering class.

       5.      Applicant is Asian-American.




                                                1
Case 3:20-cv-01534-CSH Document 5-3 Filed 10/27/20 Page 2 of 2
